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 1
 2               U N I T E D S T A T E S D I S T R I C T C O U R T
                 F O R T H E S O U T H E R N D I S T R I C T O F N E W Y O R K
 3               C a s e N o . 1 : 2 1 - c v - 0 4 3 6 2 - J P C
                 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x
 4               F R A N K B R U N C K H O R S T I I I , i n d i v i d u a l l y a n d
                 h i s c a p a c i t y a s t r u s t e e o f T H E F R A N K
 5               B R U N C K H O R S T I I I 2 0 0 1 T R U S T ,
 6                                                       P l a i n t i f f ,
 7                                   - a g a i n s t -
 8               E R I C B I S C H O F F , S U S A N S T R A V I T Z K E M P , i n h e r
                 c a p a c i t y a s c o - t r u s t e e o f T H E B A R B A R A
 9               B R U N C K H O R S T 1 9 9 4 T R U S T a n d e x e c u t r i x o f
                 T H E E S T A T E O F B A R B A R A B R U N C K H O R S T , A N D
1 0              R I C H A R D T O D D S T R A V I T Z , i n h i s c a p a c i t y a s
                 c o - t r u s t e e o f T H E B A R B A R A B R U N C K H O R S T 1 9 9 4
1 1              T R U S T , t r u s t e e o f T H E B A R B A R A B R U N C K H O R S T
                 2 0 1 0 T R U S T , a n d e x e c u t o r o f T H E E S T A T E O F
1 2              B A R B A R A B R U N C K H O R S T ,
1 3                                                      D e f e n d a n t s .
1 4              - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x
                 E R I C B I S C H O F F ,
1 5
1 6                                              C o u n t e r c l a i m - P l a i n t i f f ,
1 7                                  - a g a i n s t -
1 8              F R A N K B R U N C K H O R S T I I I , i n d i v i d u a l l y a n d i n
                 h i s c a p a c i t y a s t r u s t e e o f T H E F R A N K
1 9              B R U N C K H O R S T I I I 2 0 0 1 T R U S T , a n d i n h i s
                 c a p a c i t y a s t r u s t e e o f T H E F R A N K
2 0              B R U N C K H O R S T 2 0 2 0 I N V E S T M E N T T R U S T - A ,
2 1                                              C o u n t e r c l a i m - D e f e n d a n t .
                 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - x
2 2
                                                        D e c e m b e r 1 5 ,              2 0 2 2
2 3                                                     1 0 : 0 5 a . m .
2 4
2 5                              * C A P T I O N     C O N T I N U E D             O N   N E X T     P A G E *

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      2 1 2- 2 6 7- 6 8 6 8                        w w w. v erit e xt. c o m                               5 1 6- 6 0 8- 2 4 0 0
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 1                                                                  E R I C         B I S C H O F F
 2            o v e r           t o     t h e       B i s c h o f f           s i d e ;          r i g h t ?
 3                              A                     I t     d i d n ' t           g o     t o      t h e       B i s c h o f f
 4            s i d e .
 5                              Q                     W h e r e         d i d       i t     g o ?
 6                              A                     T o     t h e       M a r t i n            s i d e .
 7                              Q                     B u t       i t     w e n t         t o      t h e       o p p o s i t e
 8            s i d e           o f     t h e       B r u n c k h o r s t s ?
 9                              A                     Y e s .
1 0                             Q                     N o w ,       y o u       k n o w ,          d o n ' t       y o u ,
1 1           t h a t           t h e       f o u n d e r s         i n t e n d e d              t h a t       B o a r ' s
1 2           H e a d           w o u l d       b e       e q u a l l y         d i v i d e d            b e t w e e n       t h e
1 3           t w o           f a m i l y       g r o u p s ,           b e i n g         t h e      B r u n c k h o r s t
1 4           f a m i l y             o n     t h e       o n e     s i d e         a n d        t h e
1 5           M a r t i n - B i s c h o f f                   f a m i l y           o n     t h e        o t h e r       s i d e ;
1 6           r i g h t ?
1 7                             A                     I     d o n ' t         - -     t h e y        n e v e r       t o l d
1 8           m e       a b o u t           i t .         B u t     t h a t ' s           s o r t        o f     t h e
1 9           l o r e .               T h a t ' s         k i n d       o f     t h e       b a s i c
2 0           u n d e r s t a n d i n g .                     B u t       I     n e v e r          h e a r d       i t     f r o m
2 1           t h e m .
2 2                                                   ( T h e       a b o v e - r e f e r r e d - t o
2 3                           d o c u m e n t         w a s       m a r k e d         a s        E x h i b i t       5     f o r
2 4                           i d e n t i f i c a t i o n ,               a s       o f     t h i s        d a t e . )
2 5                             Q                     W e ' v e         m a r k e d         a s      B i s c h o f f         5 ,

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      2 1 2- 2 6 7- 6 8 6 8                                      w w w. v erit e xt. c o m                                   5 1 6- 6 0 8- 2 4 0 0
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 1                                                                E R I C        B I S C H O F F
 2                            A                     Y e s .
 3                            Q                     A n d      d i d       y o u       o w n       y o u r       s h a r e s
 4            d i r e c t l y           a t       t h a t      t i m e        o r      t h r o u g h         a       t r u s t ?
 5                            A                     I     d o n ' t        r e m e m b e r .
 6                            Q                     N o w ,       i f      y o u       l o o k       a t     t h e       b a c k
 7            p a g e         o f     t h e       a g r e e m e n t ,            t h e         s i g n a t u r e
 8            p a g e ,           i t ' s     E B N Y 4 5 5 4 ;            r i g h t ?
 9                            A                     C o r r e c t .
1 0                           Q                     Y o u      s e e       t h e       s i g n a t o r i e s             a r e
1 1           B a r b a r a           B r u n c k h o r s t ;              c o r r e c t ?
1 2                           A                     Y e s .
1 3                           Q                     A n d      s h e ' s         s i g n i n g         i t       i n     h e r
1 4           i n d i v i d u a l             c a p a c i t y ,            n o t       a s       i n d i c a t e d         a s
1 5           a      r e p r e s e n t a t i v e               o f      a n y       t r u s t ;        r i g h t ?
1 6                           A                     I     d o n ' t        k n o w .
1 7                           Q                     T h e r e ' s          n o t h i n g           t h e r e         t h a t
1 8           i n d i c a t e s             - -
1 9                           A                     N o .
2 0                           Q                     - -     s h e       i s      s i g n i n g         a s       a
2 1           t r u s t e e ;           r i g h t ?
2 2                           A                     N o .         T h e r e ' s           n o t h i n g          i n
2 3           t h e r e           t h a t     s h o w s        t h a t .
2 4                           Q                     A n d      b e l o w ,          t h e r e ' s          t h e
2 5           A l v i n a           M a r t i n         1 9 8 8      t r u s t ,          a n d      t h e r e         a r e

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      2 1 2- 2 6 7- 6 8 6 8                                    w w w. v erit e xt. c o m                                   5 1 6- 6 0 8- 2 4 0 0
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 1                                                              E R I C        B I S C H O F F
 2            a g a i n ,           p l e a s e ?
 3                              Q                 W h a t       d o      y o u       u n d e r s t a n d             t o      b e
 4            t h e           p u r p o s e     o f     t h e       r e q u i r e m e n t              t h a t       a
 5            f a m i l y           m e m b e r       t o     w h o m       s h a r e s            a r e
 6            t r a n s f e r r e d             m u s t       b e     a n      a c t i v e           e m p l o y e e ?
 7                              A                 T h e       g e n e r a l          c o n c e p t           i s     i f
 8            s o m e o n e           - -     o w n s       s h a r e s ,         t h e y          s h o u l d       b e
 9            i n v o l v e d           i n     t h e       b u s i n e s s ,           a c t i v e
1 0           e m p l o y e e .
1 1                             Q                 A n d       w h a t ' s         t h e        s o u r c e         o f
1 2           t h a t           u n d e r s t a n d i n g ?
1 3                             A                 I     t h i n k        t h e y        w a n t        p e o p l e
1 4           e n g a g e d           i n     t h e     b u s i n e s s .
1 5                             Q                 Y o u       t e s t i f i e d              t o     w h a t       y o u r
1 6           u n d e r s t a n d i n g               w a s .         I ' m       a s k i n g          w h e r e         t h a t
1 7           u n d e r s t a n d i n g               c a m e       f r o m .
1 8                             A                 F r o m       c o n v e r s a t i o n s                  I ' v e       h a d
1 9           m a n y           y e a r s     a g o     w i t h       t h e       p e o p l e          t h a t
2 0           s i g n e d           t h i s .
2 1                             Q                 A n d       w h y      i s      i t        i m p o r t a n t           t h a t
2 2           s o m e b o d y           t o     w h o m       s h a r e s         a r e        t r a n s f e r r e d
2 3           i s       i n v o l v e d         i n     t h e       b u s i n e s s ?
2 4                             A                 C o u l d         y o u      a s k         t h a t       a g a i n ,
2 5           p l e a s e ?

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      2 1 2- 2 6 7- 6 8 6 8                                  w w w. v erit e xt. c o m                                     5 1 6- 6 0 8- 2 4 0 0
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 1                                                                    E R I C        B I S C H O F F
 2            w h a t           t h e       p r o b l e m s           w e r e .            I       d o n ' t       r e m e m b e r
 3            w h a t           h e       s a i d       s p e c i f i c a l l y                a b o u t       t h e
 4            p r o b l e m s .
 5                              Q                       D o     y o u       r e c a l l            t h a t     o n e     o f
 6            t h e           p r o b l e m s           w a s       t h e       l a w s u i t          t h a t       w a s
 7            g o i n g             o n     b e t w e e n           y o u       a n d      t h e       M a r t i n s ?
 8                              A                       N o .
 9                                                      ( T h e       a b o v e - r e f e r r e d - t o
1 0                           d o c u m e n t           w a s       m a r k e d         a s        E x h i b i t       1 3     f o r
1 1                           i d e n t i f i c a t i o n ,                 a s      o f       t h i s       d a t e . )
1 2                             Q                       Y o u       c o u l d        p u t         t h a t     d o w n       f o r
1 3           a      s e c o n d .                L e t       m e     s o r t        o f       s e t       t h e     s t a g e
1 4           h e r e .
1 5                                                     A f t e r         t h a t       d i s c u s s i o n            t h a t
1 6           y o u           j u s t       t e s t i f i e d             a b o u t        w i t h         F r a n k ,
1 7           t h e r e             c a m e       a     p o i n t         w h e n       y o u ,        F r a n k       a n d
1 8           t h e           M a r t i n s           a n d     y o u r         v e h i c l e s            s i g n e d       w h a t
1 9           w e ' v e             b e e n       c a l l i n g           t h e      i n t e r i m           s e t t l e m e n t
2 0           a g r e e m e n t ;                 r i g h t ?
2 1                             A                       Y e s .
2 2                             Q                       A n d       I ' m       n o t      g o i n g         t o     p u r p o r t
2 3           t o       d e s c r i b e               a l l     o f       i t .
2 4                                                     B u t       a m     I     r i g h t          t h a t       s o r t     o f
2 5           t h e           g i s t       o f       t h a t       a g r e e m e n t              w a s     t h a t     t h e r e

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      2 1 2- 2 6 7- 6 8 6 8                                        w w w. v erit e xt. c o m                                   5 1 6- 6 0 8- 2 4 0 0
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 1                                                                      E R I C       B I S C H O F F
 2            w a s           g o i n g         t o     b e       a     p a u s e         i n      t h e      l i t i g a t i o n
 3            w h i l e             a     s a l e       o f       t h e       c o m p a n y           w a s     e x p l o r e d ?
 4                              A                       Y e s .
 5                              Q                       N o w ,         a s       p a r t       o f       t h a t ,     y o u
 6            w a n t e d               t h e       a b i l i t y           t o     d o     s o m e         e s t a t e
 7            p l a n n i n g                 t h a t       i n v o l v e d           t r a n s f e r r i n g
 8            s h a r e s               t o     a     t r u s t         f o r       t h e       b e n e f i t         o f     y o u r
 9            d a u g h t e r s ?
1 0                             A                       C o r r e c t .
1 1                             Q                       A n d         d o     y o u       r e c a l l         t h a t       F r a n k
1 2           a n d           R S M       w e r e       a g r e e a b l e             t o       t h a t ,       s o     l o n g
1 3           a s       y o u           a g r e e       t h a t         i f       t h e r e        w a s      n o     s a l e ,
1 4           y o u           w o u l d         t a k e       t h o s e           s h a r e s         a n d     t r a n s f e r
1 5           t h e m           b a c k         t o     y o u r s e l f ?
1 6                             A                       C o r r e c t .
1 7                             Q                       A n d         i s     t h a t       t h e         r e a s o n       w h y
1 8           t h e s e             e s t a t e         a n d         t a x       p l a n n i n g           p r o v i s i o n s
1 9           a r e           i n       t h e       a g r e e m e n t ?
2 0                                                     M R .         S W A R T Z :             O b j e c t i o n .
2 1                             A                       I     d o n ' t           k n o w .
2 2                             Q                       D o       y o u       k n o w       a n y         o t h e r     r e a s o n
2 3           w h y           t h o s e         a r e       i n       t h e       a g r e e m e n t ?
2 4                                                     M R .         S W A R T Z :             O b j e c t i o n .
2 5                             A                       I     d o n ' t           k n o w .           I     d o n ' t       - -      I

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 1                                                                  E R I C       B I S C H O F F
 2                              A                   N o .           I     d o n ' t       t h i n k        s o ,     n o .
 3                              Q                   A n d       y o u       d i d n ' t          d i s c u s s       t h e m
 4            w i t h           R S M     b e c a u s e         y o u       d o n ' t          t a l k     t o     R S M ?
 5                              A                   N o .
 6                              Q                   S o       i s       y o u r     u n d e r s t a n d i n g
 7            s o m e t h i n g               t h a t     c a m e         f r o m       y o u r        l a w y e r       o r
 8            a n y w h e r e             e l s e ?           A n d       d o n ' t       t e l l        m e     w h a t
 9            y o u r           l a w y e r       d i d       o r       d i d n ' t       t e l l        y o u .
1 0                             A                   Y e a h .             I t     w a s        t h r o u g h       m y
1 1           a t t o r n e y s               t h a t     a l l         t h i s     w a s        l a i d       o u t .
1 2                             Q                   Y o u r         p o s i t i o n            h e r e     i n     t h i s
1 3           l a w s u i t             i s     t h a t       F r a n k         v i o l a t e d          t h e     I S A ;
1 4           r i g h t ?
1 5                             A                   Y e s .
1 6                             Q                   A n d       h o w       d o     y o u        b e l i e v e       h e
1 7           v i o l a t e d             i t ?
1 8                             A                   I n       t w o       w a y s .            O n e     i s     t h a t       - -
1 9           h e       t o o k         s h a r e s       f r o m         h i s     t r u s t ,          p u t     i t     i n
2 0           t h i s           n e w     t r u s t       t h a t         w a s     s e t        u p     d u r i n g       t h e
2 1           i n t e r i m             s e t t l e m e n t             a g r e e m e n t .              A n d     w h e n
2 2           i t       w e n t         b a c k ,       i t     d i d n ' t         g o        b a c k     t o     t h e
2 3           t r u s t .               I t     w e n t       b a c k       t o     h i m        p e r s o n a l l y .
2 4           A n d           i t   w a s       s u p p o s e d           t o     g o     b a c k        t o     t h e
2 5           e n t i t y           t h a t       g a v e       t h o s e         s h a r e s          d u r i n g       t h e

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 1                                                                  E R I C         B I S C H O F F
 2            i n t e r i m               s e t t l e m e n t           a g r e e m e n t .                A n d     t h e
 3            o t h e r             i s     t h a t       w h e n       h e     g o t       t h o s e        s h a r e s
 4            b a c k ,             h e     w a s n ' t       a     f u l l - t i m e              w o r k i n g
 5            m e m b e r .
 6                              Q                     N o w ,       w h e n         d i d        y o u     c o m e     t o
 7            t h e           b e l i e f         t h a t     F r a n k         h a d       v i o l a t e d          t h e
 8            I S A ?
 9                                                    M R .       S W A R T Z :             A p a r t        f r o m
1 0                           c o n v e r s a t i o n s             w i t h         c o u n s e l .
1 1                                                   M R .       R E E D :           I ' m        j u s t     a s k i n g
1 2                           w h e n .
1 3                             A                     W h e n ?           I     d o n ' t          r e m e m b e r .
1 4                             Q                     A n d       n o w       m y     q u e s t i o n          i s ,     h o w ?
1 5           H o w           d i d       y o u     c o m e       t o     t h e       b e l i e f          t h a t     F r a n k
1 6           h a d           v i o l a t e d         t h e       I S A ?
1 7                                                   M R .       S W A R T Z :             A g a i n ,
1 8                           w i t h o u t         - -     i f     y o u       c o u l d          s a y     f r o m
1 9                           c o u n s e l .             B u t     d o n ' t         r e v e a l          a n y
2 0                           c o m m u n i c a t i o n s               w i t h       c o u n s e l .
2 1                             A                     F r o m       c o u n s e l .
2 2                             Q                     A n d       w h o       w a s      t h e       c o u n s e l ?
2 3                             A                     C o u n s e l           i s     m y        a t t o r n e y s .
2 4                             Q                     T h e       e s t e e m e d           M r .        S w a r t z ?
2 5                             A                     A n d       E d     S a v i a n o .

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      2 1 2- 2 6 7- 6 8 6 8                                      w w w. v erit e xt. c o m                                   5 1 6- 6 0 8- 2 4 0 0
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 1                                                                E R I C        B I S C H O F F
 2                                                  M R .       S W A R T Z :             A n d        t h e
 3                            e s t e e m e d       E d     S a v i a n o .
 4                              Q                   D o     y o u         b e l i e v e          t h a t         F r a n k
 5            i n t e n t i o n a l l y                 v i o l a t e d          t h e         I S A ?
 6                              A                   N o .
 7                              Q                   A r e       y o u       a w a r e          o f     a n y       b e n e f i t
 8            t h a t           F r a n k       w o u l d       r e c e i v e          b y       v i r t u e         o f
 9            h o l d i n g             h i s     s h a r e s         i n     h i s       i n d i v i d u a l
1 0           n a m e ,             r a t h e r     t h a n       t h r o u g h           h i s        t r u s t ?
1 1                             A                   N o .
1 2                             Q                   A r e       y o u       h a r m e d          i n       a n y     w a y       b y
1 3           F r a n k             h o l d i n g       h i s     s h a r e s          i n       h i s
1 4           i n d i v i d u a l               n a m e ,       r a t h e r         t h a n          i n     a     t r u s t ?
1 5                             A                   N o .
1 6                             Q                   C a n       y o u       t h i n k          o f     a n y       w a y
1 7           t h a t           t h e     c o m p a n y         i s       i m p a c t e d            b y     F r a n k
1 8           h o l d i n g             h i s     s h a r e s         i n d i v i d u a l l y                o r     i n     a
1 9           t r u s t ?
2 0                             A                   N o .
2 1                             Q                   S o     a m       I     p e r c e i v i n g              t h i s
2 2           r i g h t             t h a t     y o u     w e r e         b a s i c a l l y            t r y i n g         t o
2 3           t a k e           a d v a n t a g e         - -     i s       a l m o s t          a     f o o t       f a u l t
2 4           t o       g e t         F r a n k ' s       s h a r e s ?
2 5                             A                   N o .

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      2 1 2- 2 6 7- 6 8 6 8                                    w w w. v erit e xt. c o m                                     5 1 6- 6 0 8- 2 4 0 0
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 1                                                                  E R I C         B I S C H O F F
 2            m a r k e t             v a l u e ?
 3                              A                     I ' m      n o t       a w a r e .
 4                              Q                     D i d      y o u       o b t a i n           a n y     s o r t       o f
 5            f a i r           m a r k e t         v a l u a t i o n           o f      t h e       s h a r e s         i n
 6            c o n n e c t i o n                 w i t h     t r a n s f e r r i n g                t h e m       b a c k        t o
 7            y o u r s e l f ?
 8                              A                     I     d o n ' t        r e m e m b e r .
 9                              Q                     A n d      y o u       d o n ' t           r e c a l l       t h a t
1 0           w a s           r e q u i r e d         b y     t h e        a g r e e m e n t ?
1 1                             A                     I     d o n ' t .
1 2                             Q                     W h o      w o u l d          k n o w        t h a t ?         W h o
1 3           w o u l d             k n o w       w h e t h e r        a     v a l u a t i o n             w a s
1 4           p r e p a r e d ?
1 5                             A                     M y     a t t o r n e y s .
1 6                             Q                     N o w ,       t h e r e         w a s        a n     o c c a s i o n
1 7           i n       2 0 1 2         w h e n       y o u      t r a n s f e r r e d               s o m e       o f     y o u r
1 8           B o a r ' s             H e a d       s h a r e s        t o      a     t r u s t          f o r     t h e
1 9           b e n e f i t             o f       y o u r     d a u g h t e r s ;                r i g h t ?
2 0                             A                     I n     2 0 1 2 ?
2 1                             Q                     Y e s .
2 2                             A                     Y e s .          I     a p p l i e d           - -     I     s u g g e s t
2 3           t h a t           I     - -     I     d i d n ' t        h a n d l e          a l l        t h a t ,       b u t
2 4           y e s .               S p e c i f i c a l l y            w h a t        h a p p e n e d            w i t h
2 5           t h a t ,             I ' m     n o t       s u r e      w h a t        s t a g e s          i t     w e n t

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 1                                                                  E R I C         B I S C H O F F
 2            t h r o u g h ,               h o w       f a r     i t     g o t       a n d        t o     w h a t
 3            p o i n t .
 4                              Q                       F o r     t h e       s a k e       o f      t r y i n g         t o      b e
 5            e f f i c i e n t ,                 y o u     k n o w       t h a t        i n       2 0 1 2 ,       y o u
 6            t r a n s f e r r e d                   s h a r e s       t o     a     t r u s t          f o r     t h e
 7            b e n e f i t             o f       y o u r       d a u g h t e r s ,              a n d     t h e n       y o u
 8            s i g n e d             a n       a g r e e m e n t         t o       r e s c i n d          t h a t
 9            t r a n s f e r ;                 r i g h t ?
1 0                             A                       C o r r e c t .
1 1                             Q                       N o w ,     w h e n         F r a n k        a n d       R S M
1 2           f o u n d             o u t       t h a t     y o u       h a d       t r a n s f e r r e d            s h a r e s
1 3           t o       t h e         - -       s t r i k e       i t .
1 4                                                     W h e n     F r a n k         a n d        R S M     f o u n d         o u t
1 5           t h a t           y o u       h a d       t r a n s f e r r e d            s h a r e s         t o     a
1 6           t r u s t             f o r       t h e     b e n e f i t         o f      y o u r         d a u g h t e r s ,
1 7           t h e y           o b j e c t e d           b e c a u s e         y o u r          d a u g h t e r s         w e r e
1 8           n o t           w o r k i n g           m e m b e r s ;         r i g h t ?
1 9                             A                       C o r r e c t .
2 0                             Q                       N o w ,     y o u       p r e v i o u s l y
2 1           t e s t i f i e d                 i n     t h e     F l o r i d a          c a s e         t h a t     y o u
2 2           k n e w           t h e       s h a r e h o l d e r ' s               a g r e e m e n t            d i d     n o t
2 3           p e r m i t             y o u       t o     t r a n s f e r           t h o s e        s h a r e s         t o
2 4           y o u r           d a u g h t e r s ,             b u t     y o u       b e l i e v e d            y o u
2 5           o b t a i n e d               a     c a r v e - o u t           i n     t h e        2 0 0 8

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      2 1 2- 2 6 7- 6 8 6 8                                      w w w. v erit e xt. c o m                                     5 1 6- 6 0 8- 2 4 0 0
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 1                                                                  E R I C        B I S C H O F F
 2            s e t t l e m e n t               a g r e e m e n t            t h a t        r e s o l v e d
 3            t h e           2 0 0 5       l a w s u i t ;         r i g h t ?
 4                              A                     C o r r e c t .
 5                              Q                     B u t      y o u       u l t i m a t e l y               c a m e     t o
 6            u n d e r s t a n d               t h e r e        w a s       n o       s u c h       c a r v e - o u t ?
 7                              A                     C o r r e c t .
 8                              Q                     S o     y o u r        t r a n s f e r             t o     y o u r
 9            d a u g h t e r s               v i o l a t e d          t h e       s h a r e h o l d e r ' s
1 0           a g r e e m e n t ?
1 1                             A                     Y o u      k n o w ,         I     - -       w e     d i d n ' t
1 2           f i g h t             i t     b e c a u s e        t h e y        o b j e c t e d .                I f     w e
1 3           f o u g h t             i t     a n d     w e      l o s t ,         t h e r e         w a s       a     l o t      a t
1 4           s t a k e             b e c a u s e       I     w o u l d         g e t       b o u g h t          o u t .          S o
1 5           i t       w a s n ' t           w o r t h       f i g h t i n g            o v e r ,         l i t i g a t i n g
1 6           o v e r           b e c a u s e         t h e      o u t c o m e           w o u l d         h a v e       b e e n
1 7           v e r y           p u n i t i v e .
1 8                             Q                     D o     y o u       h a v e        t h a t         d e p o s i t i o n
1 9           t r a n s c r i p t               i n     f r o n t         o f      y o u         f r o m       t h e     2 0 2 2
2 0           d e p o s i t i o n               a s     E x h i b i t           6 ?
2 1                             A                     Y u p .
2 2                             Q                     T u r n ,        i f      y o u       w o u l d ,          t o
2 3           p a g e           1 2 0 .
2 4                             A                     1 2 0 ?
2 5                             Q                     Y e s .

                                                            V erit e xt L e g al S ol uti o ns
      2 1 2- 2 6 7- 6 8 6 8                                      w w w. v erit e xt. c o m                                     5 1 6- 6 0 8- 2 4 0 0
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 1                                                                E R I C        B I S C H O F F
 2                            f o r     a     c a r v e - o u t ;          r i g h t ?
 3                                                  " A N S W E R :              U h - u h .
 4                                                  " Q U E S T I O N :                Y o u         k n o w     y o u
 5                            v i o l a t e d       t h e      1 9 9 1        s h a r e h o l d e r ' s
 6                            a g r e e m e n t ;         r i g h t ?
 7                                                  " A N S W E R :              C o r r e c t . "
 8                              Q                   D i d      y o u       g i v e        t h o s e          a n s w e r s
 9            t o       t h o s e           q u e s t i o n s ?
1 0                             A                   Y e s .
1 1                             Q                   N o w ,       a s      w e      m e n t i o n e d ,              y o u
1 2           s i g n e d             a n     a g r e e m e n t         w i t h        t h e         o t h e r
1 3           s h a r e h o l d e r s               i n     w h i c h         y o u       w e r e        p e r m i t t e d
1 4           t o       r e s c i n d           t h e     t r a n s f e r ;            r i g h t ?
1 5                             A                   E x c u s e         m e .          S a y         t h a t     a g a i n ?
1 6                             Q                   Y o u      s i g n e d          a n        a g r e e m e n t         w i t h
1 7           R S M           a n d     F r a n k       t h a t      p e r m i t t e d               y o u     t o
1 8           r e s c i n d             t h a t     2 0 1 2       t r a n s f e r              t o     y o u r
1 9           d a u g h t e r s ?
2 0                             A                   C o r r e c t .
2 1                             Q                   Y o u      w e r e        a w a r e          a t     t h e       t i m e
2 2           t h a t           i n s t e a d       o f     p e r m i t t i n g                y o u     t o     r e s c i n d
2 3           t h e           t r a n s f e r       t o     y o u r        d a u g h t e r s ,               R S M     a n d
2 4           F r a n k             c o u l d     h a v e      e x e r c i s e d               r i g h t s       u n d e r
2 5           t h e           s h a r e h o l d e r ' s           a g r e e m e n t              t o     p u r c h a s e

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 1                                                                  E R I C        B I S C H O F F
 2                                                    T h e       f i r s t        o n e         i s     b y     B a r b a r a
 3            B r u n c k h o r s t                 o n     b e h a l f         o f      t h e         B a r b a r a
 4            B r u n c k h o r s t                 1 9 9 4       t r u s t ;         y e s ?
 5                              A                     Y e s .
 6                              Q                     A n d       t h e      s e c o n d           o n e       i s   b y
 7            B a r b a r a             B r u n c k h o r s t             o n      b e h a l f           o f     t h e
 8            B a r b a r a             B r u n c k h o r s t             2 0 1 0        t r u s t ;           y e s ?
 9                              A                     Y e s .
1 0                             Q                     A n d       t h e      t h i r d           i s     b y     B a r b a r a
1 1           B r u n c k h o r s t                 i n d i v i d u a l l y ;               r i g h t ?
1 2                             A                     Y e s .
1 3                             Q                     N o w ,       w e ' v e         e s t a b l i s h e d ,
1 4           h a v e n ' t             w e     - -       a n d     i f      n o t ,        w e        c o u l d
1 5           l o o k           - -     t h a t       B a r b a r a          B r u n c k h o r s t               d i d n ' t
1 6           o w n           a n y     s h a r e s         i n     h e r       i n d i v i d u a l              c a p a c i t y
1 7           i n       2 0 1 3 ;           r i g h t ?
1 8                             A                     Y e s .
1 9                             Q                     S o     i f      w e      l o o k          b a c k       a t   t h e s e
2 0           e v e n t s             o f     2 0 1 2       a n d      2 0 1 3 ,         i s       i t     f a i r       t o
2 1           s a y           t h a t       y o u     m i s t a k e n l y             v i o l a t e d            t h e
2 2           B o a r ' s             H e a d       s h a r e h o l d e r ' s               a g r e e m e n t ,            a n d
2 3           F r a n k             a n d     t h e       o t h e r       B o a r ' s            H e a d
2 4           s h a r e h o l d e r s                 s h o w e d         g r a c e         b y        n o t     t a k i n g
2 5           y o u r           s h a r e s ?

                                                            V erit e xt L e g al S ol uti o ns
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 1                                                                    E R I C        B I S C H O F F
 2                              A                       Y e s .
 3                              Q                       N o w ,       y o u        b e l i e v e           t h a t         F r a n k
 4            h a s           v i o l a t e d           t h e       i n t e r i m          s e t t l e m e n t
 5            a g r e e m e n t                 b y     t r a n s f e r r i n g               s h a r e s            t o     a
 6            t r u s t             t h e y ' r e           n o t     a l l o w e d           t o        b e       i n ;
 7            r i g h t ?
 8                              A                       C o r r e c t .
 9                              Q                       W h y       a r e n ' t         y o u        s h o w i n g           h i m
1 0           t h e           s a m e       g r a c e         h e     s h o w e d          y o u ?
1 1                             A                       B e c a u s e          I     d i d n ' t           t a k e         - -     I
1 2           d o n ' t             - -     I     n e v e r         h a d      s h a r e s .               F r a n k         h a s
1 3           t h e           f u l l       v a l u e         o f     h i s        s h a r e s .               I     n e v e r
1 4           h a d           h i s       s h a r e s .             W h a t        I ' m      s a y i n g            i s     t h e
1 5           c o n d i t i o n s                 a r e       d i f f e r e n t            b e c a u s e             I ' m
1 6           l o o k i n g               t o     g e t       s h a r e s          t h a t         m y     f a m i l y           h a d
1 7           b a c k           f r o m         t h e       B r u n c k h o r s t s .                    A n d       h e
1 8           d i d n ' t             - -       y o u       k n o w ,       i t      w a s n ' t           s h a r e s
1 9           s h i f t e d               t o     t h e       B i s c h o f f - M a r t i n                    s i d e       t h a t
2 0           w e n t           t o       s o m e o n e         e l s e        b e s i d e s             F r a n k .             S o
2 1           i t ' s           m o r e         o f     a     - -     t h a t ' s          t h e         r e a s o n .
2 2                             Q                       W h i c h        s h a r e s          d o e s          F r a n k         h a v e
2 3           t h a t           e v e r         b e l o n g e d          t o       t h e      B i s c h o f f s ?
2 4                             A                       N o .         T h e        B r u n c k h o r s t .
2 5                             Q                       R i g h t .

                                                              V erit e xt L e g al S ol uti o ns
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 1                                                                    E R I C         B I S C H O F F
 2                                                      W h i c h         s h a r e s         d o e s        F r a n k           h a v e
 3            t h a t           e v e r         b e l o n g e d           t o     t h e       B i s c h o f f s ?
 4                              A                       W e l l ,         i t ' s       t h e        B r u n c k h o r s t
 5            s i d e           t h a t         h a s       i t ,     n o t       F r a n k          - -     w e l l ,           w h o
 6            k n o w s             w h a t       s h a r e s         a r e       w h i c h .              B u t       i t ' s
 7            t h e           B r u n c k h o r s t             s i d e         t h a t       t o o k        a d v a n t a g e
 8            o f       t h e           f a c t     t h a t         m y     f a t h e r            d i e d       i n       ' 7 3
 9            a n d           t o o k       h i s       s h a r e s .             S o      t h i s         i s     t h e
1 0           r e v e r s e               o f     t h a t .
1 1                             Q                       A n d       h o w       d i d      t h e y         d o     t h a t ?
1 2                             A                       I     k n o w       t h e y        d i d       i t .           I     d o n ' t
1 3           k n o w           h o w       t h e y         d i d     i t .           M a y b e        t h r o u g h             t h e
1 4           s a m e           t h i n g .
1 5                             Q                       L e t ' s         j u s t       b e        c l e a r .
1 6                                                     W h a t       d i d       t h e y          d o ?
1 7                             A                       W h e n       m y       f a t h e r          d i e d ,         m y
1 8           f a t h e r               w a s     b o u g h t         o u t       b y      t h e
1 9           B r u n c k h o r s t s .
2 0                             Q                       A n d       w a s       t h a t       p u r s u a n t              t o
2 1           s o m e           a g r e e m e n t ?
2 2                             A                       I     d o n ' t         k n o w .            I t     w a s         i n
2 3           ' 7 3 .               I     w a s n ' t         i n v o l v e d .               I ' m        s u r e         i t
2 4           w a s .               I     m e a n       I ' m       s u r e       t h e y          d i d     i t ,         y e a h .
2 5           I      g u e s s            t h e y       d i d       i t .         I     w a s n ' t          a r o u n d .

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 1                                                                E R I C        B I S C H O F F
 2            B u t           i t   w a s       t r a n s f e r r e d .
 3                              Q                   A n d       y o u       b e l i e v e          t h e y       t o o k
 4            a d v a n t a g e             o f     y o u r       f a t h e r          i n       t h a t
 5            c i r c u m s t a n c e ?
 6                              A                   I     w o u l d n ' t           p u t        i t     t h a t     w a y .
 7            I      d o n ' t          k n o w     w h a t       t h e       s i t u a t i o n            w a s .
 8                              Q                   D o       y o u     k n o w        i f       y o u r     f a t h e r
 9            w a s           p a i d     a n y     l e s s       t h a n        t h e         f a i r     v a l u e       o f
1 0           h i s           e s t a t e ?
1 1                             A                   Y e a h .           I     t h i n k          i t     w a s     b o o k
1 2           v a l u e .               P r e t t y       s u r e       i t      w a s         b o o k     v a l u e .
1 3                             Q                   W a s       i t     s o m e t h i n g              t h a t     w a s
1 4           a g r e e d           u p o n ?
1 5                             A                   Y e s .           I t     w a s       a g r e e d        u p o n ,        I
1 6           g u e s s .               A g a i n ,       I     w a s n ' t         i n v o l v e d          w i t h
1 7           t h a t .
1 8                             Q                   Y o u       r e a l l y         h a v e        n o     i d e a     o f
1 9           t h e           c i r c u m s t a n c e s           s u r r o u n d i n g                t h i s
2 0           t r a n s f e r             o f     s h a r e s         f r o m       y o u r        f a t h e r ' s
2 1           e s t a t e           t o     t h e       B r u n c k h o r s t s ;                r i g h t ?
2 2                             A                   C o r r e c t .
2 3                             Q                   A n d       t h e       f a c t       i s      t o d a y ,       t h e
2 4           B r u n c k h o r s t s               o w n       5 0     p e r c e n t ?
2 5                             A                   C o r r e c t .

                                                          V erit e xt L e g al S ol uti o ns
      2 1 2- 2 6 7- 6 8 6 8                                    w w w. v erit e xt. c o m                                   5 1 6- 6 0 8- 2 4 0 0
       Case
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 1                                                                  E R I C        B I S C H O F F
 2                            Q                       A n d       t h a t ' s         h i s t o r i c a l l y              w h a t
 3            t h e y ' v e             a l w a y s         b e e n       s u p p o s e d              t o     o w n ;
 4            r i g h t ?
 5                            A                       W e l l ,        s u p p o s e d             t o ,       t h a t ' s
 6            k i n d         o f       a     l o o s e       t e r m ,         b u t       y e s .
 7                            Q                       W e     a l r e a d y           t a l k e d            a b o u t
 8            t h i s ,           a n d       w e     a l r e a d y          h a d       y o u r         t e s t i m o n y
 9            t h a t         h i s t o r i c a l l y ,                t h e       f a m i l i e s             w e r e
1 0           s u p p o s e d               t o     o w n     5 0 - 5 0 :             5 0        o n     t h e
1 1           B r u n c k h o r s t                 s i d e ,       5 0      o n      t h e
1 2           B i s c h o f f - M a r t i n                   s i d e ?
1 3                           A                       Y e s .          T h e       g e n e r a l             i n t e n t       w a s
1 4           t h a t .
1 5                           Q                       S o     t h e r e ' s           n o t h i n g            t h a t
1 6           c o n t r a s t s               - -     c o n t r a d i c t s              t h e         g e n e r a l
1 7           h i s t o r i c a l                 i n t e n t       o f      t h e       B i s c h o f f s
1 8           o w n i n g           - -       s t r i k e         i t .
1 9                                                   T h e r e ' s          n o t h i n g             a b o u t       t h e
2 0           B r u n c k h o r s t s                 o w n i n g         5 0      p e r c e n t             t h a t     i s
2 1           w r o n g           i n       t e r m s       o f     t h e       g e n e r a l            h i s t o r i c a l
2 2           i n t e n t           o f       t h e     c o m p a n y ;            r i g h t ?
2 3                           A                       N o .
2 4                           Q                       N o w ,       y o u       b e l i e v e            t h a t       F r a n k
2 5           b l e w         t h e         d e a d l i n e         t o      e x e r c i s e             h i s     r i g h t

                                                            V erit e xt L e g al S ol uti o ns
      2 1 2- 2 6 7- 6 8 6 8                                      w w w. v erit e xt. c o m                                     5 1 6- 6 0 8- 2 4 0 0
       Case
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 1                                                                    E R I C        B I S C H O F F
 2            t o       b u y           B a r b a r a ' s           s h a r e s ?
 3                                A                     R i g h t .            B a r b a r a ' s             t r u s t
 4            s h a r e s .
 5                                Q                     B u t       y o u      k n o w        h e      w a n t s       t h e m ?
 6                                A                     I ' m       s u r e       h e      d o e s .           I t ' s
 7            a p p a r e n t               t o d a y .
 8                                Q                     I f     I     w e r e        t o      a s k      h i m       t h e
 9            s a m e             q u e s t i o n ,           w h y       a r e n ' t         y o u      s h o w i n g         h i m
1 0           t h e           s a m e       g r a c e         h e     s h o w e d          y o u ,       w o u l d         y o u
1 1           g i v e             t h e     s a m e       a n s w e r          t h a t        y o u      j u s t       g a v e ?
1 2                               A                     Y e s .
1 3                                                     T H E       W I T N E S S :                C o u l d     w e       t a k e
1 4                           a       s h o r t       o n e ?
1 5                                                     M R .       R E E D :           Y e s .
1 6                                                     T H E       V I D E O G R A P H E R :                  T h e       t i m e
1 7                           o n       t h e     v i d e o         m o n i t o r          i s       4 : 0 3     p . m .
1 8                           W e ' r e         o f f     t h e       r e c o r d .                T h i s     e n d s
1 9                           M e d i a         4 .
2 0                                                     ( A     s h o r t         r e c e s s          w a s     t a k e n . )
2 1                                                     T H E       V I D E O G R A P H E R :                  W e     a r e
2 2                           b a c k       o n       t h e     r e c o r d .              T h e       t i m e       o n     t h e
2 3                           v i d e o         m o n i t o r         i s      4 : 1 8        p . m .          T h i s
2 4                           s t a r t s         M e d i a         5 .
2 5                                                     ( T h e       a b o v e - r e f e r r e d - t o

                                                              V erit e xt L e g al S ol uti o ns
      2 1 2- 2 6 7- 6 8 6 8                                        w w w. v erit e xt. c o m                                   5 1 6- 6 0 8- 2 4 0 0
